       Case 1-23-43812-nhl            Doc 26       Filed 06/27/24    Entered 06/27/24 07:19:34




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re:                                                              Chapter 7

143-30 SANFORD AVE LLC,                                             Case No.: 23-43812-nhl

                           Debtor.
--------------------------------------------------------x

                                         AFFIDAVIT OF SERVICE

STATE OF NEW YORK                  )
                                   ss:
COUNTY OF NASSAU                   )

        DENISE BISAGNI, being duly sworn, deposes and says:

     Deponent is not a party to the action, is over 18 years of age and resides in Suffolk County,
New York.

        On June 21, 2024, deponent served ECF No. 24, AMENDED NOTICE TO CREDITORS
AND OTHER PARTIES IN INTEREST OF CHAPTER 7 TRUSTEE’S INTENDED SALE, by First
Class Mail upon the attorneys/parties listed on the annexed list at the addresses listed, said addresses
designated for that purpose, by depositing a true copy of same enclosed in postpaid, properly
addressed wrappers, in an official depository under the exclusive care and custody of United States
Postal Service within the State of New York.

TO:        see attached Service List

                                                            s/ Denise Bisagni
                                                            Denise Bisagni


Sworn to before me this 21st day of June 2024


s/ Nina Proctor
Nina Proctor
Notary Public, State of New York
No. 02PR6426394
Qualified in Nassau County
Commission Expires December 13, 2025
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143-30 Sanford Ave LLC                                Office of the United States Trustee               Vincent Garofalo
143-30 Sanford Avenue                                 Eastern District of New York - Brooklyn           158-15 Cross Island Parkway
Flushing, NY 11355                                    Alexander Hamilton Custom House                   Whitestone, NY 11357
                                                      One Bowling Green, Suite 510
                                                      New York, NY 10004-1408



Kevin J. Nash, Esq.                                   Doris Shen                                        Gerard A. Geisweller, Esq.
Goldberg Weprin Finkel Goldstein LLP                  Hirshmark Capital LLC                             Mattone, Mattone, Mattone, LLP
125 Park Avenue, 12th Floor                           1140 Broadway, Suite 304                          134-01 20th Avenue
New York, NY 10017                                    New York, NY 10001                                College Point, NY 11356




Potentially Interested Parties:                       New York City Dept of Finance                     NYC Water Board
                                                      Office of Legal Affairs                           Richard J Costa
                                                      Collections Unit-RPT Taxes                        Senior Counsel - Bureau of Legal Affairs
                                                      375 Pearl Street, 30th fl                         59-17 Junction Blvd, 13th Fl
                                                      New York, NY 10038                                Elmhurst, NY 11373-5108



NYC Environmental Control Board                       Commissioner of Labor                             Thermal Profiles, Inc.
100 Church Street, 1st Floor                          State of New York                                 c/o Milton Milbauer
New York, NY 10007                                    W.A. Harriman Campus, Building 12                 100 Dupont Street
                                                      Albany, NY 12227                                  Plainview, NY 11803




Clerk of the Court                                    Department of Housing Preservation and            Internal Revenue Service
Criminal Court of the City of New York                Development of the City of New York               PO Box 7346
120-55 Queens Boulevard                               Attn: Joy Anakhu, Esq.                            Philadelphia, PA 19101-7346
Queens, NY 11424                                      100 Church Street, Room 3-118
                                                      New York, NY 10007



NYC Department of Finance                             NYS Dept. of Taxation & Finance                   NYS Department of Taxation & Finance
Office of Legal Affairs                               Bankruptcy Unit -TCD                              Bankruptcy Unit
375 Pearl Street, 30th Floor                          Building 8, Room 455                              P.O. Box 5300
New York, NY 10038                                    W.A. Harriman State Campus                        Albany, NY 12205-5300
                                                      Albany, NY 12227



U.S. Department of Education                          U.S. Department of Health and Human Services      U.S. Department of Housing and Urban Development
Attn: Federal Student Aid Bankruptcy Unit             Office of the General Counsel                     Office of Regional Counsel for NY/NJ
50 United Nations Plaza, Mailbox 1200                 26 Federal Plaza, Room 3908                       26 Federal Plaza, Room 3500
Room 1240                                             New York, NY 10278                                New York, NY 10278
San Francisco, CA 94102



U.S. Environmental Protection Agency                  U.S. Securities & Exchange Commission             U.S. Small Business Administration
Office of the Regional Counsel                        New York Regional Office                          New York District Office
Region 2 - New York/Caribbean Superfund Branch        100 Pearl St., Suite 20-100                       Attention: Diana St. Louis, District Counsel
Attn: Douglas Fischer, Esq.                           New York, NY 10004-2616                           26 Federal Plaza, Room 3100
290 Broadway, 17th Floor                                                                                New York, NY 10278
New York, NY 10007-1866


United States Attorney's Office
Eastern District of New York                          143-30 Sanford Avenue, Apt. 1A                    143-30 Sanford Avenue, Apt. 1B
Atten: David Cooper, Chief of Bankruptcy Litigation   Flushing, NY 11355                                Flushing, NY 11355
Civil Division, Bankruptcy Processing
271-A Cadman Plaza East, 7th Floor
Brooklyn, NY 11201-1820



143-30 Sanford Avenue, Apt. 1C                        143-30 Sanford Avenue, Apt. 1D                    143-30 Sanford Avenue, Apt. 1E
Flushing, NY 11355                                    Flushing, NY 11355                                Flushing, NY 11355
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143-30 Sanford Avenue, Apt. 1G              143-30 Sanford Avenue, Apt. 1H           143-30 Sanford Avenue, Apt. 1J
Flushing, NY 11355                          Flushing, NY 11355                       Flushing, NY 11355




143-30 Sanford Avenue, Apt. 2A              143-30 Sanford Avenue, Apt. 2B           143-30 Sanford Avenue, Apt. 2C
Flushing, NY 11355                          Flushing, NY 11355                       Flushing, NY 11355




143-30 Sanford Avenue, Apt. 2D              143-30 Sanford Avenue, Apt. 2E           143-30 Sanford Avenue, Apt. 2F
Flushing, NY 11355                          Flushing, NY 11355                       Flushing, NY 11355




143-30 Sanford Avenue, Apt. 2G              143-30 Sanford Avenue, Apt. 2H           143-30 Sanford Avenue, Apt. 2J
Flushing, NY 11355                          Flushing, NY 11355                       Flushing, NY 11355




143-30 Sanford Avenue, Apt. 2K              143-30 Sanford Avenue, Apt. 2L           143-30 Sanford Avenue, Apt. 2M
Flushing, NY 11355                          Flushing, NY 11355                       Flushing, NY 11355




143-30 Sanford Avenue, Apt. 3A              143-30 Sanford Avenue, Apt. 3B           143-30 Sanford Avenue, Apt. 3C
Flushing, NY 11355                          Flushing, NY 11355                       Flushing, NY 11355




143-30 Sanford Avenue, Apt. 3D              143-30 Sanford Avenue, Apt. 3E           143-30 Sanford Avenue, Apt. 3F
Flushing, NY 11355                          Flushing, NY 11355                       Flushing, NY 11355




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143-30 Sanford Avenue, Apt. 3K              143-30 Sanford Avenue, Apt. 3L           143-30 Sanford Avenue, Apt. 3M
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143-30 Sanford Avenue, Apt. 4A              143-30 Sanford Avenue, Apt. 4B           143-30 Sanford Avenue, Apt. 4C
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143-30 Sanford Avenue, Apt. 5A              143-30 Sanford Avenue, Apt. 5B           143-30 Sanford Avenue, Apt. 5C
Flushing, NY 11355                          Flushing, NY 11355                       Flushing, NY 11355




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143-30 Sanford Avenue, Apt. 7A              143-30 Sanford Avenue, Apt. 7B           143-30 Sanford Avenue, Apt. 7C
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Flushing, NY 11355                          Flushing, NY 11355                       Flushing, NY 11355




Joel Spitzer
1178 Broadway, Suite 65
New York, NY 10001
